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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF MASSACHUSETTS



RUMEYSA OZTURK



v.                                                     CIVIL ACTION NO. 25-10695-DJC



PATRICIA HYDE, ET AL




                                    ORDER OF TRANSFER



CASPER, D.J.


       In accordance with the Memorandum and Order dated April 4, 2025, D. 42, this case is

transferred to the United States District Court, District of Vermont.




                                                       /s/ Lisa M. Hourihan
April 4, 2025                                          --------------------------
                                                       Deputy Clerk
